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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 SEUNGICK CHUNG                       :
                                      :    CIVIL ACTION NO.
                                      :
                                      : COMPLAINT AND
 V.                                   : DEMAND FOR JURY TRIAL
                                      :
 GRACE ROAD CHURCH (in New York, NY), :
 GRACE ROAD CHURCH (in South Korea),  :
 OK-JOO SHIN                          :    December 3, 2013


                                          COMPLAINT


                                       INTRODUCTION


        1. The Plaintiff SEUNGICK CHUNG , brings an action against defendants for personal

 injury sustained at Grace Road Church.



                                          THE PARTIES



    2. The Defendant, Grace Road Church, is a South Korean non-profit corporation with a

         principal address of 159 Juam-dong, Gwacheon-si, Gyeonggi-do, The Republic of Korea

         (South Korea).

    3. The Defendant, Grace Road Church, is a church established by the Defendant Shin and

        Grace Road Church South Korea with a principal address of 36 03 164th Street, Flushing,

        New York 11358.
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    4. The Defendant Shin is an individual residing in The Republic of Korea and is the head

       minister and the founding member of both the Grace Road Church in Korea and Grace

       Road Church in New York with a principal address of 159 Juam-dong, Gwacheon-si,

       Gyeonggi-do, The Republic of Korea.

    5. At all relevant times and upon information and belief, there was such a unity of interest

       between the Defendants that for all intents and purposes there was never any individuality

       and separateness between the Defendants, and that the Defendants are the instrumentality

       and alter-ego of each other.

    6. The Plaintiff, SEUNGICK CHUNG, is an individual residing in the state of Connecticut.

                                  JURISDICTION AND VENUE

    7. The matter in controversy exceeds, exclusive of interest and costs, the sum of $75,000.00.

    8. Jurisdiction of this Court arises under 28 U.S.C. Section 1332, in that there is a diversity

       of citizenship of the parties.

    9. Venue in this district is appropriate, since the Defendants target their ministry to

       individuals in this District, the Plaintiff and witnesses reside in this district.



                                        FACTUAL ALLEGATIONS



    10. The Plaintiff has a history of severe mental and has been diagnosed with Schizophrenia

       (Paranoid Type), Anxiety Disorder with a history of Seizure Disorder. Additionally, at all

       relevant time in this complaint, the Plaintiff has been taking a number of drugs to treat his

       mental illness.



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    11. The Defendant, Ok-Joo Shin (hereinafter “Ms. Shin” ) is the senior pastor and the

       founding member of the Defendant Grace Road Church in the Republic of Korea

       (hereinafter “Korean Grace Road Church”) who ministers in the United States including

       Connecticut.

    12. Grace Road Church in the U.S (hereinafter “U.S Grace Road Church”) is a wholly owned

       subsidiary church of Korean Grace Road Church.

    13. In the beginning of September 2012, Ms. Shin and church members (hereinafter “the

       church members”), including the elder sister of the Plaintiff, a non-party, Myung Hee

       Chung (hereinafter “Ms. Chung”), entered into the U.S for the purpose of establishing a

       subsidiary church, U.S Grace Road Church.

    14. The said church members and Ms. Chung are the employees of the Korean Grace Road

       Church and the Defendant, Shin.

    15. From the time when Ms. Shin and the church members came into the U.S to October 12,

       2012, the church members used three different residential properties in succession as the

       location for U.S Grace Road Church.

    16. The said residential properties are also used as residences for the church members and the

       Defendant, Ms. Shin as well as a place for worship.

    17. In the beginning of September 2012, Ms. Chung invited the Plaintiff to live with her and

       the Defendant, Ms. Shin, and to participate in worship.

    18. The invitation was a part of plan to treat the Plaintiff’s severe psychosis with religious

       healing.




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    19. Shortly after the invitation, the Plaintiff moved in with Ms. Chung and the Defendant, Ms.

       Shin at their church.

    20. The Plaintiff’s stay with the Defendants continued until October 12, 2012.

    21. During the stay, the Defendant, Ms. Shin and the other church members prevented Mr.

       Chung from taking his medications, which were necessary to keep his symptoms under

       control.

    22. Discontinuing of the medications was a part of attempting to cure his illness with

       religious healing.

    23. The discontinuance of his medications caused outburst of Mr. Chung’s visual /auditory

       hallucination, suicidal thoughts, self-mutilation, self-deprivation of foods and other

       compulsory behaviors.

    24. During the stay, Ms. Shin provided a series of religious services, including sermons to

       cure his psychosis.

    25. On or about September 25, 2012, the Defendants brought the Plaintiff to 17-24 Parsons

       Boulevard, Queens, NY, which was then used as the location for religious services and a

       residence of U.S Grace Road Church.

    26. On or about September 26, 2012, the church members and Ms. Chung completely

       discontinued the medication for the Plaintiff.

    27. The complete discontinuance of the medication caused Plaintiff’s symptoms to become

       more severe, which disturbed Ms. Shin and the other church members’ sleep during

       nights.




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    28. On or about October 10, 2012, in order to restrain the Plaintiff’s outbursts, church

        members, under the supervision of the Defendant, Ms. Shin, tied the Plaintiff’s wrists,

        ankles, and knees in the chair with duct tape, and putting a sock in his mouth.

    29. The Plaintiff made several complaints about a severe pain in his right leg. Also, other

        church members noticed the discoloration of the right leg. However, the church members

        failed to provide any necessary medical attention.

    30. This restraint caused a severe constriction of the blood vessels in Plaintiff’s right leg,

        which later developed Gangrene.

    31. On October 12, 2012, around 10:30 AM, the church members took the Plaintiff to see a

        dermatologist, Dr. Charles C. Kwak, located at 3420 Parsons Blvd Suite LF,

        Flushing, NY 11354.

    32. Dr. Kwak ordered the church members to take the Plaintiff to the emergency room at New

        York Hospital in Queens where he underwent emergency surgery to amputate his right leg

        above the knee.

    33. As a result of the trauma, the Plaintiff is currently institutionalized.

    34. After the incident, several members of the church have been arrested and imprisoned as a

        result of the above actions.



 COUNT ONE: FALSE IMPRISONMENT

    1-34. Plaintiff repeats, realleges and incorporates by reference paragraphs one through thirty-

        three.




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    35. The Defendants, through their agents and employees, acted to intentionally confine the

    Plaintiff which caused the Plaintiff’s injury in one or more of the following respects:

            a. In that they intentionally restrained the Plaintiff, which resulted in amputation in

                his right leg above the knee.

            b. In that this restraint and confinement caused mental anguish of the Plaintiff, which

                caused severe trauma, which worsen his mental illness causing him to be

                institutionalized.

            c. In that they caused and permitted the restraint in such dangerous and inhuman

                condition;

    36. As a direct and proximate result of the restraint and confinement of the Defendants and

    their agents, servants and employees, the Plaintiff suffered and sustained the following

    injuries and losses, the effects of all or some of which are likely to be permanent in nature:

            d. Above Knee Amputation right leg

            e. Depressive Disorder caused by the trauma

            f. Trauma

            g. Hypertension

            h. s/p Sepsis

    37. As a result of his injury, the Plaintiff has suffered and continues to suffer, experience and

    live with the loss of his right leg, pain and mental anguish, and worsened psychotic symptoms

    each day of his life.

    38. As a result of his injury, the Plaintiff was placed in a nursing facility requiring 24/7

    supervision.



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    39. As a result of his injury, the Plaintiff has to go through rehabilitation.

    40. As a result of his injury, the Plaintiff has incurred in the past and will incur in the future

    costs and expenses for medical care, psychiatric treatment, physical rehabilitation, and nursing

    care.

    41. As a result of his injury, the Plaintiff ability to enjoy life has been severely damaged and

    compromised.



 COUNT TWO: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

    1-34. Plaintiff repeats, realleges and incorporates by reference paragraphs one through thirty-

    three.

    35 The Defendants through their agents and employees intentionally or recklessly engaged

    in extreme and outrageous conduct that has caused severe emotional distress in one or

    more of the following respects:

             a. In that they failed to properly supervise the care provided for the Plaintiff.

             b. In that they failed to provide necessary medical attention despite the several

                complaints from the Plaintiff.

             c. In that they intentionally or recklessly deprived the Plaintiff’s medication so that

                the outburst of symptoms occurred, which put the Plaintiff in grave pain and

                suffering.

             d. In that they failed to promulgate, provide, adopt and adhere reasonable procedures

                while they undertake care for a patient with severe mental illness.




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            e. In that they failed to supervise him so that the Plaintiff left the facility without

                proper medication.

            f. In that they caused and permitted the Gangrene which resulted in the amputation of

                his right leg above the knee.

            g. In that they caused and permitted mental anguish of the Plaintiff, which caused

                severe trauma, which worsen his mental illness.

            h. In that they caused and permitted the restraint in such dangerous and inhuman

                condition; and

            i. In that they failed to train, educate, supervise, and monitor its employees, agents,

                servants and contractors.

    36. As a direct and proximate result of the recklessness of the Defendants and their agents,

    servants and employees, the Plaintiff suffered and sustained the following injuries and losses,

    the effects of all or some of which are likely to be permanent in nature:

            a. Depressive Disorder caused by the trauma

            b. Trauma caused by amputation above right knee

            c. Hypertension caused by trauma

            d. s/p Sepsis caused by the amputation

    37. As a result of his injury, the Plaintiff has suffered and continues to suffer, experience and

    live with the loss of his right leg, pain and mental anguish, and worsened psychotic symptoms

    each day of his life.

    38. As a result of his injury, the Plaintiff was placed in a nursing facility requiring 24/7

    supervision.



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    39. As a result of his injury, the Plaintiff has to go through rehabilitation.

    40. As a result of his injury, the Plaintiff has incurred in the past and will incur in the future

    costs and expenses for medical care, psychiatric treatment, physical rehabilitation, and nursing

    care.

    41. As a result of his injury, the Plaintiff ability to enjoy life has been severely damaged and

    compromised.



 COUNT THREE: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

    1-34. Plaintiff repeats, realleges and incorporates by reference paragraphs one through thirty-

    three.

    35. The Defendants owe a duty to use reasonable care to avoid causing emotional

    distress to the Plaintiff. The Defendants failed to exercise their duty and unreasonably

    causes emotional distress to the Plaintiff in one or more of the following respects:

             a. In that they failed to properly supervise the care provided for the Plaintiff.

             b. In that they failed to provide necessary medical attention during the said restraint

                despite the several complaints from the Plaintiff.

             c. In that they failed to stop restraining the Plaintiff, which resulted in amputation in

                his right leg.

             d. In that they deprived the Plaintiff’s medication.

             e. In that they failed to promulgate, provide, adopt and adhere reasonable procedures

                while they undertake care for a patient with severe mental illness.

             f. In that they caused and permitted the amputation of his right leg above the knee.


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             g. In that they caused and permitted mental anguish of the Plaintiff, which caused

                 severe trauma, which worsen his mental illness.

             h. In that they caused and permitted the restraint in such dangerous and inhuman

                 condition; and

             i. In that they failed to train, educate, supervise, and monitor its employees, agents,

                 servants and contractors.

     36. As a direct and proximate result of the negligence of the Defendants and their agents,

     servants and employees, the Plaintiff suffered and sustained the following injuries and losses,

     the effects of all or some of which are likely to be permanent in nature:

             a. Depressive Disorder caused by the trauma

             b. Trauma caused by amputation above right knee

             c. Hypertension caused by trauma

             d. s/p Sepsis caused by the amputation

     37. As a result of his injury, the Plaintiff has suffered and continues to suffer, experience and

     live with the loss of his right leg, pain and mental anguish, and worsened psychotic symptoms

     each day of his life.

     38. As a result of his injury, the Plaintiff was placed in a nursing facility requiring 24/7

     supervision.

     39. As a result of his injury, the Plaintiff has to go through rehabilitation.

     40. As a result of his injury, the Plaintiff has incurred in the past and will incur in the future

     costs and expenses for medical care, psychiatric treatment, physical rehabilitation, and nursing

     care.



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     41. As a result of his injury, the Plaintiff ability to enjoy life has been severely damaged and

     compromised.




  COUNT FOUR: RESPONDEAT SUPERIOR : AS TO OK-JOO SHIN

     1-34. Plaintiff repeats, realleges and incorporates by reference paragraphs one through thirty-

     three.

     35. The Defendant, Ok-Joo Shin, as the senior pastor who has control over the other

     Defendants, U.S Grace Road Church, and Korean Grace Road Church, is responsible for the

     actions of employees performed within the course of their employment. The injuries and

     losses suffered and sustained by the Plaintiff as hereinafter described were proximately caused

     by the Defendant, Ms. Shin in one or more of the following respects:

              a. In that she authorized the withholding of medication and the restraint of the

                 Plaintiff.

              b. In that she failed to properly supervise the care provided for the Plaintiff.

              c. In that she failed to order her employees to provide necessary medical attention

                 during the said restraint despite the several complaints from the Plaintiff.

              d. In that she failed to stop where her employees deprived the Plaintiff’s medication

                 so that the outburst of symptoms occurred, which put the Plaintiff in grave pain

                 and suffering.

              e. In that she failed to promulgate, provide, adopt and adhere reasonable procedures

                 while she undertake care for a patient with severe mental illness.



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             f. In that she failed to supervise them so that the Plaintiff left the facility without

                 proper medication.

             g. In that she failed to stop or permitted the amputation of his right leg, which the

                 Plaintiff has to bear for the rest of his life.

             h. In that she caused and permitted mental anguish of the Plaintiff, which caused

                 severe trauma, which worsen his mental illness.

             i. In that she failed to stop or permitted the restraint in such dangerous and inhuman

                 condition; and

             j. In that she failed to train, educate, supervise, and monitor its employees, agents,

                 servants and contractors.

     36. As a direct and proximate result of the actions of the Defendants and their agents, servants

     and employees, the Plaintiff suffered and sustained the following injuries and losses, the

     effects of all or some of which are likely to be permanent in nature:

             a. Depressive Disorder caused by the trauma

             b. Trauma caused by amputation above right knee

             c. Hypertension caused by trauma

             d. s/p Sepsis caused by the amputation

     37. As a result of his injury, the Plaintiff has suffered and continues to suffer, experience and

     live with the loss of his right leg, pain and mental anguish, and worsened psychotic symptoms

     each day of his life.

     38. As a result of his injury, the Plaintiff was placed in a nursing facility requiring 24/7

     supervision.



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     39. As a result of his injury, the Plaintiff has to go through rehabilitation.

     40. As a result of his injury, the Plaintiff has incurred in the past and will incur in the future

     costs and expenses for medical care, psychiatric treatment, physical rehabilitation, and nursing

     care.

     41. As a result of his injury, the Plaintiff ability to enjoy life has been severely damaged and

     compromised.



  COUNT FIVE: ASSAULT

     1-34. Plaintiff repeats, realleges and incorporates by reference paragraphs one through thirty-

     three.

     35. The Defendants, through their agents and employees caused the reasonable apprehension

     of an immediate harmful or offensive contact to the Plaintiff in one or more of the following

     respects:

              a. In that they restrained Mr. Chung’s wrists, ankles, and knees in the chair with duct

                 tape, putting socks in his mouth, which caused the amputation of his right leg

                 above his knee.

     36. As a direct and proximate result of the assault of the Defendants and their agents, servants

     and employees, the Plaintiff suffered and sustained the following injuries and losses, the

     effects of all or some of which are likely to be permanent in nature:

              a. Depressive Disorder caused by the trauma

              b. Trauma caused by amputation above right knee

              c. Hypertension caused by trauma



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              d. s/p Sepsis caused by the amputation

     37. As a result of his injury, the Plaintiff has suffered and continues to suffer, experience and

     live with the loss of his right leg, pain and mental anguish, and worsened psychotic symptoms

     each day of his life.

     38. As a result of his injury, the Plaintiff was placed in a nursing facility requiring 24/7

     supervision.

     39. As a result of his injury, the Plaintiff has to go through rehabilitation.

     40. As a result of his injury, the Plaintiff has incurred in the past and will incur in the future

     costs and expenses for medical care, psychiatric treatment, physical rehabilitation, and nursing

     care.

     41. As a result of his injury, the Plaintiff ability to enjoy life has been severely damaged and

     compromised.



  COUNT SIX: BATTERY

     1-34. Plaintiff repeats, realleges and incorporates by reference paragraphs one through thirty-

     three.

     35. The Defendants, through their agents and employees, intentionally and voluntarily

     bringing about an unconsented harmful or offensive contact to the Defendant in one or more

     of the following respects:

              a. In that they restrained the Plaintiff’s wrists, ankles, and knees in the chair with

                 duct tape, putting socks in his mouth, which subsequently caused the amputation

                 of his right leg above the knee.



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     36. As a direct and proximate result of the above actions of the Defendants and their agents,

     servants and employees, the Plaintiff suffered and sustained the following injuries and losses,

     the effects of all or some of which are likely to be permanent in nature:

             a. Depressive Disorder caused by the trauma

             b. Trauma caused by amputation above right knee

             c. Hypertension caused by trauma

             d. s/p Sepsis caused by the amputation

     37. As a result of his injury, the Plaintiff has suffered and continues to suffer, experience and

     live with the loss of his right leg, pain and mental anguish, and worsened psychotic symptoms

     each day of his life.

     38. As a result of his injury, the Plaintiff was placed in a nursing facility requiring 24/7

     supervision.

     39. As a result of his injury, the Plaintiff has to go through rehabilitation.

     40. As a result of his injury, the Plaintiff has incurred in the past and will incur in the future

     costs and expenses for medical care, psychiatric treatment, physical rehabilitation, and nursing

     care.

     41. As a result of his injury, the Plaintiff ability to enjoy life has been severely damaged and

     compromised.




         WHEREFORE, Plaintiffs demand judgment against the Defendants in the amount of SIX

  MILLION DOLLARS, together with interest and its costs.



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                                     TRIAL BY JURY IS DEMANDED.



                                            PLAINTIFF
                                            SEUNGICK CHUNG



                                            By___/s/CT11868_____________

                                              Sung-Ho Hwang
                                              1 Audubon Street, Suite 102,
                                              New Haven, Connecticut 06511
                                              (203) 624-2811
                                              F: (203) 562-0096
                                              Bar # CT 11868




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